        Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 1 of 11



                                       December 17, 2018


Peter Mucchetti
Chief, Healthcare and Consumer Products Section
Antitrust Division
Department of Justice
450 Fifth Street NW, Suite 4100
Washington, DC 20530

       Re:     Comments from Consumer Action and U.S. PIRG Concerning the Proposed Final
               Judgment in United States v. CVS Health Corporation and Aetna, Inc., No. 1:18-
               cv-02340 (RJL)



Dear Mr. Mucchetti,

The undersigned stakeholders representing consumer organizations are concerned about the high
cost of prescription drugs, escalating healthcare costs, and lack of patient choice. Pursuant to
Section 2(b) of the Antitrust Procedures and Penalties Act (the “Tunney Act”), 15 U.S.C. §
16(b), we respectfully submit the following comments on the proposed Final Judgment (“PFJ”)
in the captioned matter. These comments are being submitted to assist the U.S. Department of
Justice (“DOJ”) and the district court in its review of whether the PFJ is sufficiently complete to
remedy the competitive problems identified in the DOJ’s complaint as well as the wide range of
anticompetitive concerns presented by the merger of CVS Health Corporation (“CVS”) and
Aetna Inc. (“Aetna”).

I.     Introduction

As this court confirmed in SBC Communications, courts “cannot look beyond the complaint in
making the public interest determination unless the complaint is drafted so narrowly as to make a
mockery of judicial power.” United States v. SBC Commc’ns, Inc., 489 F. Supp. 2d 1, 15 (D.D.C.
2007). Here, the DOJ has simply required a divestiture of Aetna’s standalone individual
Medicare Part D prescription drug plans (“individual PDPs”) to WellCare Health Plans, Inc.
(“WellCare”) in an effort to resolve competition concerns related to a horizontal overlap posed
by the merger. The DOJ’s Complaint does not identify any other horizontal or vertical
foreclosure concerns. In general, the PFJ is insufficient to protect consumers and patients. First,
the PFJ raises numerous questions and concerns that the proposed divestiture will not restore
competition in the individual PDP markets. Second, the DOJ narrowly drafted the Complaint
and completely failed to identify the extensive competitive concerns raised by the merger.

II.    Merger Remedies Increasingly Fail to Restore Competition

The PFJ is unlikely to resolve the competitive concerns raised in the DOJ’s Complaint. Merger
remedies including both structural and behavioral components are increasingly criticized for



                                                 1
         Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 2 of 11



failing to restore competition.1 The current administration has indicated that it has a strong
preference for structural remedies over behavioral ones.2 The rationale for this position is that
the DOJ is a law enforcement agency and is not in the business of regulating industries. While
there is some merit to the current administration’s position, there are mergers that raise vertical
foreclosure concerns where behavioral remedies may be appropriate. Indeed, there are
circumstances where structural, behavioral, or a combination of both types of remedies would be
the most appropriate resolution. In some cases, as is here, the DOJ should have simply
challenged the merger.

Structural remedies such as divestitures are inherently risky and flawed. While the DOJ does its
best to construct effective divestiture remedies, the government can never be certain how the
divestiture buyer will perform with the divested assets in the future. Not surprisingly, the
existing, albeit limited empirical evidence suggests that structural remedies have often failed to
prevent competitive harm.3 Indeed, divestiture remedies have repeatedly failed to protect
consumers because in many cases no set of divestiture assets are sufficient to replace the lost
competition. In many cases, to guarantee the same level of competition that existed prior to the
merger, a divestiture of the acquiring or acquired firm in its entirety would be necessary.

To be sure, consumers are paying higher prices in a number of industries because of failed
merger remedies in the airline,4 grocery store,5 dollar store,6 and rental car industries.7 Some of
these failures were monumental, predictable, and unbelievably fast. And for health insurance it
is the same story. For example, in 2012, the DOJ conditioned Humana’s acquisition of Arcadian
on divestitures of Medicare Advantage plans in 51 counties. Within a couple of years, WellCare
and Cigna, two of three purchasers of divested assets, went out of business.8 While Humana
shareholders benefitted, consumers and patients did not. Meanwhile, just two years ago, a
district court held that Molina Healthcare’s (“Molina”) acquisition of divested assets related to

1 John Kwoka, Mergers, Merger Control, and Remedies: A Retrospective Analysis of U.S. Policy MIT Press 2015.
2 Keynote Address by Assistant Attorney General Makan Delrahim at American Bar Association’s Antitrust Fall
Forum, November 16, 2017. https://www.justice.gov/opa/speech/assistant-attorney-general-makan-delrahim-
delivers-keynote-address-american-bar
3 John Kwoka Mergers, Merger Control, and Remedies: A Retrospective Analysis of U.S. Policy MIT Press 2015.
4 Catherine A. Peterman, The Future of Airline Mergers after the US Airways and American Airlines Merger, 79 J.

Air L. & Com. 781 (2014) https://scholar.smu.edu/jalc/vol79/iss4/3
5 In 2015, the FTC approved Safeway’s acquisition of Albertson’s, a large grocery merger, on the condition that the

merged company divest itself of 146 stores to Haggens, a small chain of 18 stores. Within months, that small chain
filed for bankruptcy and the merged company wound up buying back about 36 stores. Ana Marum, Failed
divestiture: Albertsons is bidding on 36 Haggen stores, including some it used to own, The Oregonian, November
10, 2015. https://www.oregonlive.com/window-shop/index.ssf/2015/11/albertsons_bids_on_36_haggen_s.html
6 In 2015, the FTC conditioned Dollar Tree’s acquisition of Family Dollar, a merger of dollar stores, on a divestiture

of stores to Sycamore, a private equity firm. The private equity buyer sold the assets to the other large national
dollar store player, Dollar General, within 21 months. FTC Press Release, “FTC Approves Sycamore Partners II,
L.P. Application to Sell 323 Family Dollar Stores to Dollar General”, April 27, 2017. https://www.ftc.gov/news-
events/press-releases/2017/04/ftc-approves-sycamore-partners-ii-lp-application-sell-323-family
7 In 2012, the FTC conditioned Hertz’s acquisition of Dollar Thrifty on a divestiture of Advantage and other assets

to a small rental car company, FSNA, backed by a private equity fund and Advantage buyer filed for bankruptcy
within a year only to have some of the assets auctioned back to Hertz. Bret Kendall, How the FTC's Hertz Antitrust
Fix Went Flat, Wall Street Journal, December 8, 2013. https://www.wsj.com/articles/how-the-ftc8217s-hertz-
antitrust-fix-went-flat-1386547951?ns=prod/accounts-wsj
8, Topher Spiro, Maura Calsyn, and Meghan O’Toole, Divestitures Will Not Maintain Competition in Medicare

Advantage, Center for American Progress, March 8, 2016 (Center for American Progress Humana/Arcadian
Analysis).

                                                          2
         Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 3 of 11



Aetna’s merger with Humana was insufficient to restore competition in Medicare Advantage
markets.

        A. Humana/Arcadian Failed Divestiture Remedy Suggests that DOJ’s PFJ Is
           Unlikely to Restore Competition

The DOJ’s divestiture remedy in Humana/Arcadian failed to restore competition in Medicare
Advantage markets.9 This failure suggests that it is difficult to restore or maintain competition
with divestitures in the health insurance industry. First, the Humana/Arcadian remedy package
included a divestiture of only 12,700 lives in 51 rural counties.10 If a divestiture of only 12,700
lives can fail, how can the DOJ guarantee a successful divestiture of over 2 million lives?
Second, WellCare, which was one of the divestiture buyers in Humana/Arcadian, exited the
business within two years of making the acquisition.11 WellCare purchased Arcadian’s Medicare
Advantage business, which covered about 4,000 members in two counties in Arizona at the
beginning of 2013.12 By all accounts, the DOJ believed WellCare to be a strong buyer because it
was already offering Medicare Advantage plans in 12 states. WellCare’s membership in both
counties quickly declined and WellCare exited both counties by January 2015.13 In turn,
Humana’s Medicare Advantage membership increased in the two counties by about 35 percent,
and the number of Medicare Advantage plan choices for consumers decreased.14 WellCare’s
history with the DOJ as a divestiture buyer indicates that it will make the best economic decision
for its executives and shareholders and will not necessarily step up to the task of restoring
competition. Third, it is important to understand that the DOJ’s remedy in Humana/Arcadian,
like here, only called for the divestiture of contracts with subscribers. Once the next open season
starts, there is no reason why the merged firm cannot just steal those subscribers back. This is
exactly what happened as Humana benefitted from Cigna’s and WellCare’s exits. Significantly,
health insurer relationships with subscribers are fragile assets on which to base a merger remedy.
Fourth, it is difficult to find divestiture buyers, especially ones like Cigna and WellCare that
have sufficient scope and expertise to meet the obligation under the law to fully restore
competition. Given WellCare’s checkered past, it is not all clear that the company can meet this
threshold. Moreover, the fact that Cigna, one of the nation’s most powerful health insurers was
one of the failed buyers demonstrates how difficult it is for the DOJ to design a successful
divestiture remedy in health insurance markets.

        B. District Court Held That Aetna’s Divestiture to Molina Was Insufficient to
           Preserve Competition

In 2016, the DOJ sued to block Aetna’s acquisition of Humana alleging in part that the
transaction would substantially lessen competition in Medicare Advantage markets in 364
counties and that the parties’ proposed divestitures to Molina to resolve those concerns were
unlikely to preserve competition. Aetna and Humana each entered into an Asset Purchase
Agreement (“APA”) and Administrative Services Agreement (“ASA”) with Molina in an attempt

9 Center for American Progress Humana/Arcadian Analysis.
10 Justice Department Requires Divestitures in Humana Inc.'s Acquisition of Arcadian Management Services Inc.
DOJ Press Release, March 27, 2012.
11 Center for American Progress Humana/Arcadian Analysis.
12 Center for American Progress Humana/Arcadian Analysis at 3.
13 Id.
14 Id.


                                                       3
         Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 4 of 11



to resolve competition concerns in numerous Medicare Advantage markets throughout the
country.15 Under the agreements, the defendants were to transfer to Molina certain Medicare
Advantage plans that included approximately 290,000 members in as many as 437 counties in 21
states.16 The proposed divesture covered all of the areas identified as competitive concerns in the
DOJ’s complaint to block Aetna’s acquisition of Humana. Under the ASA, Aetna and Humana
were to continue to operate the divested plans for the remainder of the calendar year in which the
merger closed. If it closed in 2017, then Molina would have the option to extend the ASA for up
to two 6 month periods.17 During that time, all plan administration services, such as IT, claims
processing, and broker services, were to be managed by Aetna and Humana.18 Their contracts
with providers would still be in place, and subscribers were to continue to see their own
providers so there was a promise of no disruption to patients.19

Though the proposed divestiture purportedly resolved all of the antitrust concerns related to the
Medicare Advantage markets, Judge Bates held that the divestiture was insufficient to preserve
competition. He was concerned that Molina was not an adequate divestiture buyer. Judge Bates
made that decision based on a number of factors. First, contemporaneously prepared business
documents from Molina’s Board and executives undermined that argument that Molina could
successfully compete with the divestiture assets.20 Second, Judge Bates was very concerned that
the low purchase price that Molina paid for the Medicare Advantage contracts raised concerns
about whether Molina could be a successful competitor or preserve competition in all of the
problem markets.21 He was concerned that because Molina was getting such a great deal it could
make money and be profitable even if it abandoned many of the plans, counties, and members
that it was to acquire.22 Indeed, some evidence from Molina suggested that it might actually
withdraw from some counties that didn’t make economic sense for its business. Third, Judge
Bates was concerned about Molina’s history demonstrating that it was unsuccessful in entering
the Medicare Advantage space.23 In summary, Judge Bates concluded that Molina’s past history
suggested that the company was an inappropriate divestiture buyer.

Given Judge Bates’s apprehension of approving Molina as a divestiture buyer because of the
company’s past history, the DOJ and this Court should have similar concerns related to
WellCare’s past in the immediate matter.

        C. PFJ Is Unlikely To Preserve Competition In the Medicare PDP Market

The DOJ explains that “[C]ompetition between [CVS and Aetna’s PDPs] has led not only to
lower premiums and out-of-pocket expenses but also improved drug formularies, more attractive
pharmacy networks, enhanced benefits, and innovative product features.”24 Here, the PFJ is
unlikely to preserve competition in the Medicare individual PDP markets for a number of
reasons. Indeed, part of Aetna’s PDP success and its ability to intensively compete with CVS

15 United States v. Aetna, Inc., Memorandum and Opinion Filed January 23, 2017 at p. 16 and 93.
16 Id. at 93.
17 Id. at 93.
18 Id. at 94.
19 Id. at 94.
20 Id. at 105-106.
21 Id. at 110-111.
22 Id. at 110-111.
23 Id. at 111-112.
24 Competitive Impact Statement at 5.


                                                        4
         Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 5 of 11



relates to Aetna’s status as one of the nation’s largest health insurers. While the DOJ requires
the complete divestiture of Aetna’s Medicare PDP contracts and allows WellCare to attempt to
hire Aetna’s employees, WellCare is not purchasing an existing business entity nor is it
guaranteed of hiring Aetna’s best employees. Under the PFJ, WellCare has a very small window
of time to attempt to hire Aetna employees. This is the problem with a divestiture of assets that
is not a standalone business. There is a lot of uncertainty on whether WellCare will be able to
hire the correct personnel to help it be successful. WellCare is much smaller than Aetna; as of
December 31st, 2017 Aetna’s total membership was 22.2 million and it had assets of $55.137
billion, 25 and WellCare had 4,371 million members and assets of $8.364 billion. And WellCare’s
membership of individual PDPs has declined; from 1,392,000 in 2014 to 1,152,000 in 2017.26

As the DOJ’s Merger Remedies Guide suggests in some cases, the purchase of an existing
business entity might be more likely to effectively preserve the competition that would have been
lost through the merger.27 An existing business entity would have the “personnel, customer lists,
information systems, intangible assets, and management infrastructure” necessary to compete.28
A divestiture of an existing business is generally preferred by the DOJ and is more successful
than a divestiture of some lesser set of assets because an existing business has already proved
that it can compete within the marketplace.29 Indeed, the DOJ’s Merger Remedies Guides states
that in some cases, the DOJ may require more than a divestiture of an existing business to
effectively preserve competition.30

Because the DOJ did not require a divestiture of an existing business, it requires CVS and Aetna
to provide additional assistance to WellCare. We are skeptical of a divestiture that relies on a
continuing relationship between CVS/Aetna and WellCare because that leaves WellCare
susceptible to CVS’s conduct and actions which are not aligned with ensuring that WellCare will
be an effective competitor in the future. Administrative services contracts or assistance with the
transition from Aetna to WellCare simply raises a host of questions.

Under the PFJ, CVS and Aetna are required to divest to WellCare Aetna’s individual PDP
contracts that includes approximately 2.2 million members in as many as 50 states. It does not
impact Aetna’s group or individual Medicare Advantage plans so Aetna will still be selling those
products to seniors under the Aetna brand. The parties did not announce the financial terms of
the deal publicly but the DOJ told Judge Leon in court that the sale of the assets was a “mere 50
to 100 million”, which seems to be a very cheap price. In fact, at most, WellCare is paying $45
per covered life. This information is important because the DOJ and the district court should be
extremely cautious about divestiture buyers that are getting a great deal.31 The better a deal that
a divestiture buyer has, the less incentive there is to continue to manage underperforming
contracts. A low purchase price raises serious concerns as to whether WellCare will manage the
assets in a way that preserves competition going forward. The Merger Remedies Guide


25 Aetna Reports Fourth-Quarter and Full Year 2017 Results, January 30, 2018. https://news.aetna.com/news-
releases/aetna-reports-fourth-quarter-and-full-year-2017-results/
26 WellCare Health Plans, Inc. 2017 Annual Report (Form 10-K). U.S. Securities and Exchange Commission,

February 2018. https://www.sec.gov/Archives/edgar/data/1279363/000127936318000011/wcg-2017123110k.htm
27 DOJ Antitrust Division Policy Guide to Merger Remedies, June 2011, at 8-10. (“Merger Remedies Guide”).
28 Merger Remedies Guide, at 9.
29 Merger Remedies Guide, at 8-9.
30 Merger Remedies Guide, at 10.
31 Merger Remedies Guide at 9.


                                                     5
         Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 6 of 11



acknowledges this possibility.32 An extremely low purchase price shows the conflicting interest
between the divestiture buyer and the DOJ’s goal of restoring competition. If the divestiture
buyer does not have much skin in the game, the inexpensive acquisition could still “produce
something of value to the purchaser” even if it does not become a significant competitor in all
aspects of the divestiture and therefore, the divestiture would not “cure the competitive
concerns.”33

Here, per the terms of the agreements, Aetna will, at the option of WellCare, provide
administrative services to, and assume the financial risk of, the Aetna Part D plans through the
end of plan year 2019.34 Again, this seems like a deal that is too good to be true. The PFJ
indicates that Aetna, at WellCare’s option, will provide plan administration services, such as
pharmacy network management and contracting; prescription drug claims processing; utilization
review and quality management; data collection, reporting and submission; rebate management;
formulary administration; as well as billing and invoicing. This raises more questions because
WellCare will be relying on the merged firm for support. This suggests that the divestiture in the
PFJ is unlikely to restore competition lost by the merger.

In addition, past failed remedies demonstrate that when a divestiture buyer such as WellCare,
acquires more than it can handle, divestiture buyers have had trouble managing the increased
growth. Here, WellCare will be tripling its size in the Medicare PDP business from 1.1 million
lives to approximately 3.3 million lives. This type of rapid growth has resulted in small
divestiture buyers going out of business within months of acquiring divested assets and
consumers lose.35

The DOJ makes clear that neither entry nor expansion is likely to solve the competitive problems
created by the merger. It notes that recent entrants into individual PDP markets have been largely
unsuccessful, with many subsequently exiting the market or shrinking their geographic footprint.
Effective entry into the sale of individual PDPs requires years of planning, millions of dollars,
access to qualified personnel, and competitive contracts with retail pharmacies and
pharmaceutical manufacturers and companies must establish sufficient scale quickly to keep
their plans’ costs down.36 This raises a lot of questions on whether WellCare is up to the task.

Under the PFJ, CVS and Aetna are required to provide WellCare with the Aetna brands for the
Medicare PDPs for at least one year. The merged firm, however, will continue to use the Aetna
brand for its other products. This type of brand splitting or allowing the merged firm to retain
access to the brand can present a significant competitive risk because it will make it more
difficult for WellCare to differentiate its products from Aetna’s going forward.37 One year is a
short time frame, but whenever the period stops, Aetna will be free to compete with its brand in
the future. This essentially means that WellCare could end up being not as competitive because
it will not have the incentive to market its Aetna Medicare PDPs because to do so would be

32 Merger Remedies Guide at 9.
33 Merger Remedies Guide at 9.
34 Press Release, WellCare Completes Acquisition of Standalone Medicare Part D Prescription Drug Plan Business

from Aetna, December 4, 2018.
35 Ana Marum, Failed divestiture: Albertsons is bidding on 36 Haggen stores, including some it used to own, The

Oregonian, November 10, 2015.
36 Competitive Impact Statement, at 6.
37 Merger Remedies Guide at 11-12.


                                                       6
         Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 7 of 11



advertising Aetna’s other insurance plans against its own brands. These limitations will
undoubtedly make it more difficult to preserve competition.

In any case, the question remains whether WellCare will be able to retain many of the 2.2 million
subscribers that it is acquiring through the divestiture, let alone fully restore competition as is
required under the law. One thing is for sure, CVS will compete for those subscribers when its
obligations are over.

        D. Inadequate Remedy in the PFJ Will Harm Seniors

The divestitures in the PFJ may also result in additional cost to consumers such as disrupted and
inferior service, higher premiums, and increased uncertainty. Careful scrutiny is required with
the CVS/Aetna PFJ because it involves the most vulnerable consumers – elderly and disabled
Medicare beneficiaries. There is a real danger that they will suffer the greatest harm from this
inadequate divestiture requirement in the PFJ. Seniors should not be forced to bear the costs of a
risky settlement especially when the merger will only benefit CVS and Aetna shareholders and
executives.

III.    DOJ’s Complaint and PFJ Fails to Restore Competition in Physician and Pharmacy
        Markets

The CVS/Aetna transaction raises significant vertical antitrust concerns that are not raised in the
DOJ’s Complaint, Competitive Impact Statement, or PFJ. The DOJ simply ignored all of the
concerns raised by providers, physicians, pharmacists, and consumer groups. The DOJ must be
willing to craft alternative remedies in addition to the divestiture of a competitive overlap to
ensure consumers are fully protected. As industries consolidate further and become more and
more concentrated, the DOJ must not only consider structural and behavioral remedies, but also
consider outright rejections when necessary.

The PFJ does not address harm to patients resulting from vertical consolidation that will occur
between a merger of the nation’s largest retail pharmacy chain, one of the two largest PBMs, on
the one hand, and the nation’s third largest health insurer, on the other.

        A. PBM Market Is Concentrated and Uncompetitive

The PBM market lacks the essential elements for a competitive market due to the lack of choice,
numerous conflicts of interests, and lack of transparency and regulation.38 Currently, there is a
lack of choice because three PBMs (CVS, Express Scripts, and UnitedHealth’s OptumRx)
control 85% of the PBM market.39 The three major PBMs clearly face conflicts because they
own mail order operations, specialty pharmacies, and, in the case of CVS, the largest retail and


38 Testimony of David Balto, Before House Judiciary Committee, October 8, 2009.

http://www.dcantitrustlaw.com/assets/content/documents/CAP/protecting%20consumers.pdf
39 Reforming Biopharmaceutical Pricing at Home and Abroad, The Council of Economic Advisors, White Paper,

February 2018. The White House Council of Economic Advisers found that the three large PBMs control more than
85% of the market, “which allows them to exercise undue market power against manufacturers and against health
plans and beneficiaries they are supposed to be representing, thus generating outsized profits for themselves.”
https://www.whitehouse.gov/wp-content/uploads/2017/11/CEA-Rx-White-Paper-Final2.pdf

                                                      7
         Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 8 of 11



specialty pharmacy chain and the dominant long-term care pharmacy.40 Health plans and
employers contract with PBMs, which negotiate drug prices with pharmaceutical manufacturers
and reimbursement rates with pharmacies.41 The PBMs control the formularies so they determine
what drugs patients can purchase, how many times patients can fill the prescription, and the
amount of patient co-pays.

A PBM such as CVS can design the benefit in such a way that patients will pay higher co-pays at
rival retail pharmacies. When the PBM is commonly owned with the entity it is supposed to
bargain with, or has its own mail order operations, there is an inherent conflict of interest, which
can lead to deception, anticompetitive conduct, higher prices, and less choice for the patient.
Because of a lack of transparency, the prescription drug rebates negotiated by PBMs from
pharmaceutical manufacturers are not fully passed on to employers or consumers and the
dispensing fees reimbursed to retail pharmacies are far less than what the insurance plan is
actually paying for the drug. The PBMs can make money off the spread between what they pay
retail pharmacies and what they charge the insurance plan. Indeed, the PBMs are in many cases
making more money per prescription than the retail pharmacy that is buying and dispensing the
drug. PBMs take advantage of a lack of transparency, misaligned incentives, and conflicts of
interest to make larger profits than any other players involved in the drug supply chain
(distributors, insurers, or pharmacies).42 In one example, CVS billed $198.22 for a generic
antipsychosis drug, but reimbursed the drug dispenser only $5.73.43 The current structure and
characteristics of the PBM market has led to higher drug costs.44

        B. Health Insurance Market is Concentrated

Aetna is the third largest health insurer in the United States and is considered part of the “Big 5”
along with its rivals United Healthcare, Anthem, Cigna, and Humana.45 The DOJ successfully
challenged two health insurer mergers between four of the Big 5 in 2017.

        C. Past Vertical Healthcare Mergers Have Harmed Consumers

There is little evidence that past vertical acquisitions by CVS have resulted in significant benefits
to consumers. Indeed, past vertical mergers have resulted in anticompetitive conduct that has
harmed independent pharmacies and consumer choice. If CVS and Aetna are allowed to join
forces, the results will be predictably harmful to competition as well as consumers.

In 2007, CVS acquired Caremark. After acquiring the PBM arm, it used its new power to
exclude competition, reduce patient access to vital healthcare services from their pharmacists of
choice, and drive up prices. After closing on the acquisition, the vertically integrated firm

40 Testimony of David Balto, Before the California Senate Committee on Business Practices and Economic

Development, March 20, 2017.
https://sbp.senate.ca.gov/sites/sbp.senate.ca.gov/files/David%20Balto%20Testimony.pdf
41 See Robert Langreth, David Ingold, and Jackie Gu, The Secret Drug Pricing System Middlemen Use to Rake in

Millions, Bloomberg (Sept. 11, 2018), https://www.bloomberg.com/graphics/2018-drug-spread-pricing/.
42 Charlie Grant, Hidden Profits in the Prescription Drug Supply Chain, Wall Street Journal, February 24, 2018.

https://www.wsj.com/articles/hidden-profits-in-the-prescription-drug-supply-chain-1519484401
43 See Robert Langreth, David Ingold, and Jackie Gu, The Secret Drug Pricing System Middlemen Use to Rake in

Millions, Bloomberg (Sept. 11, 2018), https://www.bloomberg.com/graphics/2018-drug-spread-pricing/.
44 Id.
45 United States v. Aetna Inc., 250 F. Supp. 3d 1, 11 (D. D.C. 2017).


                                                        8
         Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 9 of 11



formed exclusive pharmacy networks that prevented consumers from accessing pharmacists of
their choice and increased their costs for prescription drugs. CVS will undoubtedly enter into
similarly exclusive arrangements if it is permitted to acquire Aetna.

In addition to the exclusive arrangements, CVS has allegedly engaged in a strategy of squeezing
its rival retail pharmacies with “take-it-or-leave-it” non-negotiable contracts. 46 Rival retail
pharmacies are required to sign contracts with CVS Caremark in order to process prescriptions
through the PBM for payment. Because they have no bargaining power, CVS was able to
depress the dispensing fees to rival retail pharmacists to uncompetitive levels in the fall of 2017
by drastically decreasing generic prescription and Medicaid reimbursement rates while at the
same time reimbursing its own CVS pharmacies at higher rates.47 Sometimes these rival
pharmacies were not reimbursed enough to cover the cost of filling the prescription, and, in
many cases, CVS was reimbursing the rival retail pharmacies less than half of what was being
charged to the health insurance plans.48 The declining reimbursement rates caused a number of
rival retail pharmacies to shut their doors, reducing patients’ treatment options and access. To
the ones still in business, CVS sent letters offering to purchase them.49 Because many of the rival
retail pharmacists are small and lack bargaining power, they are susceptible to exclusionary
conduct and take-it-or-leave-it contracts.

Moreover, CVS has successfully steered many of its PBM customers to its pharmacies and mail
order. While CVS claims that its mail order saves money for customers and/or employers, there
is considerable dispute on whether those claims are valid. Customers want choice and even after
being steered to CVS’s mail order, many of these patients reportedly come back to their
independent and community pharmacies to ask questions about their prescriptions and
medications even though they are receiving prescription drugs from CVS’s mail order. This
happens because patients want access to a pharmacist who sees them regularly. These patient
access concerns are particularly great in underserved inner city and urban areas. In essence,
CVS is free riding on independent and community pharmacists, and if this continues, this could
eventually run these rival retail pharmacists out of business.

While CVS proclaims that its acquisition of Aetna will result in substantial efficiencies, it is
often the case that efficiencies even if realized are rarely passed on to consumers in the form of
lower prices and better services.

In fact, past health insurer-PBM alliances have not led to lower health care prices or improved
quality of care. In 2007, UnitedHealthcare acquired CatamaranRx, then the fourth-largest PBM,
into its OptumRx PBM, and in 2011, Express Scripts and Medco, two of the three largest PBMs
at the time, merged. While both deals promised efficiencies that would result in lower prices for
consumers, there has been no evidence of improved care, lower premiums and overall costs,
increased savings, or any resulting benefits passed on to consumers. Rather, consumers have



46 Linette Lopez, What CVS is Doing to Mom and Pop Pharmacies in the U.S. Will Make You Boil, Business Week
(March 30, 2018). https://www.businessinsider.com/cvs-squeezing-us-mom-and-pop-pharmacies-out-of-business-
2018-3
47 Id.
48 Id.
49 Id.


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        Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 10 of 11



suffered through higher drug prices, fewer choices, poorer service, and increased fraud and
abuse.

        D. CVS/Aetna Merger Is Likely to Harm Competition

CVS’s history suggests that it will continue to engage in exclusionary conduct to steer patients
away from rivals. The acquisition of Aetna enhances the ability and incentive of the merged
firm to impede competition in retail pharmacy, provider services, health insurance, and PBM
services.

Pre-merger, Aetna has the incentive to deal with all retail pharmacies for its commercial
insureds. Post-merger, this will change as CVS/Aetna will have the increased incentive and
ability to steer Aetna’s patients to CVS’s mail order or its retail pharmacy stores. CVS will be
able to cut off rival retail pharmacies’ access to Aetna insureds by implementing some changes
either explicitly requiring the Aetna insureds to use CVS mail order and/or retail pharmacies or
implementing financial disincentives to Aetna insureds from using rival retail pharmacies.

Primary care physicians are also at risk of being squeezed out of the marketplace to the detriment
of patients.50 CVS will be able to steer patients covered by Aetna to receive their care from
CVS-run clinics, instead of from their own physicians.51

Further, while a standalone CVS has strong incentives to sell its PBM services to all health
insurers, after integrating with Aetna, the incentive to sell such services to other health insurers
changes.52 Given the significance of being one of three largest PBMs, CVS could enact a
number of strategies related to drug formularies, providing less transparency of drug costs, and
gathering information about rival insurers’ drug spend and customers that could be used to
disadvantage health insurer rivals.53 This could raise rival health insurers’ cost of prescription
drugs. Finally, CVS could cut off Aetna subscribers from rival PBMs.

In sum, patients will see higher prescription drug prices, lower quality, and less choice. This
merger will unquestionably result in CVS steering patients to its services and products and away
from competitors’ offerings.

Concluding Thoughts

We believe that antitrust enforcement is crucial to protecting consumers and that the Court
should carefully review the PFJ to determine whether it is in the public interest. The PFJ needs
to be as thorough as possible to prevent post-merger harm. The DOJ is taking a risk when it
accepts remedies to resolve anticompetitive concerns posed by mergers so the Court must be
comfortable that the proposed remedies are actually sufficiently complete to avoid any
enforcement problems in the future. The PFJ must also insure that the healthcare markets remain
as competitive as possible. History suggests that restoring competition is especially difficult in

50  Letter from Marilyn Singleton to the Department of Justice, September 21, 2018. http://aapsonline.org/cvs-
aetna/.
51 Id.
52 Letter from Diana Moss, President of American Antitrust Institute to the Department of Justice, Regarding

Competitive and Consumer Concerns Raised by the CVS-Aetna Merger dated March 26, 2018.
53Id.


                                                        10
       Case 1:18-cv-02340-RJL Document 34-1 Filed 12/14/18 Page 11 of 11



the health insurance industry. It is far from certain that any divestitures required of the merging
parties will succeed today, given that they have so clearly failed in the past. And seniors are
most likely to lose out. The PFJ, here, is not in the public interest because it is unlikely to
preserve competition in the individual Medicare Part D PDP markets nor does the PFJ resolve all
of the wide-ranging harm that will be caused by vertical integration.

Sincerely,

Consumer Action

U.S. PIRG




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